Case 2:97-cr-00011-TJW-CE          Document 607         Filed 09/08/05     Page 1 of 5 PageID #:
                                            160



                            United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
vs.                                              §                       Case No. 2:97cr11(08)
                                                 §                                (Judge Ward)
KENDRICK TALTON                                  §

                              REPORT AND RECOMMENDATION
                           OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’ s supervised

release. After the District Court referred the matter to t his Court for a report and

recommendation, t he Court held a hearing on the matter on September 6, 2005.

Defendant w as represented by Ron Uselton. The Government w as represented by

Randall Blake.

        On November 2 3 , 1 9 9 8 , Def endant w as sent enced by the Honorable David J.

Folsom t o 6 0 m ont hs cust ody f ollow ed by a f our-year t erm of supervised release f or t he

of f ense of possession w it h t he int ent t o dist ribut e cocaine base. On A pril 1 8 , 2 0 0 2 ,

Defendant completed his period of imprisonment and began service of his supervised

term . Def endant ’ s condit ions of supervised release w ere modif ied on June 1 2 , 2 0 0 3 t o

include a special condit ion f or placement in a comprehensive sanct ion cent er f or 1 2 0

days. Def endant commenced his placement on A ugust 6 , 2 0 0 3 , but w as discharged on

Oct ober 1 4 , 2 0 0 3 .

        Thereafter, on December 22, 2003, the United States Probation Officer filed a

Petition for Warrant or Summons for Offender Under Supervision. The Court originally

conducted a hearing on February 17, 2005 to determine w hether Defendant violated
Case 2:97-cr-00011-TJW-CE     Document 607      Filed 09/08/05    Page 2 of 5 PageID #:
                                       161



his supervised release.   The Court determined that Defendant had violated his

supervised release and ordered Defendant to spend 120 days in a comprehensive

sanction center. After Defendant w as once again discharged from the comprehensive

sanction center, the Probation Officer filed a second Petition f or Warrant or Summons

for Offender Under Supervision on August 18, 2005.

      The second petition asserted that Defendant violated the follow ing condition:

Defendant shall be placed in a comprehensive sanction center and successfully

complete the comprehensive sanction center program for 120 consecutive days.

      The petition alleges that Defendant committed the follow ing acts: (1) On June

30, 2005, Defendant lied or provided a false statement to a staff member and failed

to keep the facilit y advised of his w hereabouts; (2) On June 18, 2005, Defendant

refused to obey a direct order given by a staff member by sleeping in an unassigned

bed; (3) Defendant failed to secure employment w ithin the allotted time; (4) On May

3, 2005, Defendant w as three hours and fifteen minutes late returning to the facility

w hile out on a special sign-out pass; and (5) On June 27, 29, and 30, 2005,

Defendant failed to perform his morning duties before exiting the facility; and (6) On

July 12, 2005, Defendant w as unsuccessfully terminated f rom the Volunteers of

America Comprehensive Sanction Center for the above violations.

      Defendant entered a plea of not true to each alleged violation.          Aft er so

pleading, the Government then presented the testimony of Probation Officer Steve

Johnson. Defendant took the stand on his ow n behalf.

      Steve Johnson testified that he is the defendant’ s supervising probation officer.

                                          2
Case 2:97-cr-00011-TJW-CE       Document 607      Filed 09/08/05    Page 3 of 5 PageID #:
                                         162



He stated that Defendant w as placed in a Community Confinement Center on May 3,

2005. Mr. Johnson stated that Defendant arrived late at the facility on May 13, 2005

and w as given five hours of extra duty. Mr. Johnson further testified that Defendant

refused to obey an order by sleeping in an unassigned bed, for w hich he w as given 10

hours of additional duty. Furthermore, Mr. Johnson claims that on June 30, 2005,

Defendant signed out of the facility for w ork, but w as not present at w ork w hen a

monitor called to check on him. Defendant instructed the monitor to call a co-w orker

to verify that he w as at w ork, but the monitor later learned that the co-w orker, w ho

stated Defendant w as at w ork, w as incorrect and had no authority t o conf irm

Defendant’ s presence. Defendant and his co-w orker w ere both terminated from their

jobs. Finally, Mr. Johnson stated that, due to multiple violations, Defendant w as

terminated from the comprehensive sanction center.

      On cross-examination, Mr. Johnson admitted that no specific reason w as given

for Defendant’ s t ermination from the program. Defendant only missed w ork on one

occasion and w as gainfully employed throughout much of his stay in the facility. No

records w ere admitted indicating that Defendant w as in the w rong bed, and Defendant

never submitted a dirty drug test.

      Defendant testified that he slept in the bed originally assigned to him until, at

4:30 a.m. one morning, he w as t old t hat he w as in the w rong bed. He slept in the

appropriate bed from that point forw ard. He admitted that he did not get a job w ithin

15 days of ent ering the facility, but stated that he found employment shortly

thereafter. Defendant claimed that he w as late returning to the facility from a doctor’ s

                                            3
Case 2:97-cr-00011-TJW-CE      Document 607      Filed 09/08/05    Page 4 of 5 PageID #:
                                        163



appointment on May 13, 2005 because he had difficulty w ith the bus system.

Defendant finally admitted to missing w ork on June 30, 2005, but stated that he did

so in order t o spend time w ith his brother before he departed to Europe for military

service. Defendant admitted that he should not have lied.

      Having considered the evidence presented, the Court accept s Defendant’ s

explanations for his late arrival on May 13, 2005 and for sleeping in the w rong bed.

Defendant has not refuted that he failed to secure employment w ithin 15 days of

entering the facility and that he w as ultimately terminated from the facility. The Court

further finds that Defendant lied to the staff about attending w ork on June 30, 2005

w hen he w as, instead, visiting his brother.

                                 RECOMMENDATION

      This Court finds that Defendant violated the conditions of his supervised release.

The Court recommends that Defendant be sentenced to a term of imprisonment of

seven (7) months. The Court further recommends that Defendant be given f our (4)

months credit for time served by Defendant prior to being placed in the comprehensive

sanction center. The Court finally recommends that Defendant’ s term of supervised

release continue until April 30, 2006.

      Wit hin ten (10) days after receipt of the magistrate judge' s report, any party

may serve and file w rit t en objections to the findings and recommendations of the

magistrate judge. 28 U.S.C.A. § 636(b)(1)(C).

      Failure to file w ritten objections to the proposed findings and recommendations

contained in this report w ithin ten days after service shall bar an aggrieved party from

                                           4
    Case 2:97-cr-00011-TJW-CE      Document 607     Filed 09/08/05    Page 5 of 5 PageID #:
                                            164



    de novo review by the district court of the proposed findings and recommendations
.
    and from appellate review of factual findings accepted or adopted by the district court

    except on grounds of plain error or manifest injustice. Thomas v. Arn, 474 U.S. 140,

    148 (1985); Rodriguez v. Bow en, 857 F.2d 275, 276-77 (5th Cir. 1988).


          SIGNED this 8th day of September, 2005.

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                                            ____________________________________
                                            DON D. BUSH
                                            UNITED STATES MAGISTRATE JUDGE




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